                                                                              KS
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                                                                                         Apr 13, 2021
                          UN ITED STAT ES D ISTR ICT C O U RT
                          SO U TH ER N D ISTR ICT O F FLO RIDA

              21-20226-CR-BLOOM/OTAZO-REYES
                          C ASE N O .                 -      -
                                        18U.S.C.j1349
                                        18U.S.C.j1344
                                        18U.S.C.j 1956(h)
                                        18 U.S.C.j1956(a)(1)(B)(i)
                                        18U.S.C.j9824a)

 U N ITED STATES O F A M ER ICA

 V S.

 c Altluo s R O LDA N LEIV A ,
 YOANGEL M ARTINEZ QIIEVED0.
 DAIBY M ERCEDES M ARTINEZ ICLESIAS,
 Jo sE R AM O N H ER N AN DE Z G AR C IA ,
 A N TO N IO L.H ER NA N DEZ ,
 L EM AY M O Iu A RO CH A ,
 Jo sE AL O N SO A C O ST A ,
 ANDRESGARCIA GARPIA.
 YOSBEL DOM INGUEZ FUXDOIG ,
 D AY C EL CA BAR R O CA ,and
 YAM ILE LEW IS M OLLtNEDO,
                      D efendants.

                                         IN D ICTM EN T
        TheGrand Jury chargesthat:
                                 G EN EM L A LLEG A TIO N S
                Bank ofAmerica was a financialinstitution with oftices located in the State of

  FloridawhoseaccountswereinsuredbytheFederalDepositInsuranceCorporation(ûiFDlC'').
                W ellsFargo wasa financialinstitution with officeslocated in the State ofFlorida

  whose accountsw ere insured by the FD IC .
                SunTrust w as a financial institution w ith offices located in the State of Florida

  whose accountsw ere insured by the FD IC.
         4.     The defendant CARLOS RO LDAN LEIVA was a resident of M iam i-Dade

  County,Florida.
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              The defendantYOANGEL M ARTINEZ QUEVEDO was a residentofPalm

 Beach County,Florida.
              The defendantDAIBY M ERCEDES M ARTINEZ IGLESIAS wasaresidentof

 M iam i-llade County,Florida.
               The defendant JO SE R AM ON HERNANDEZ GARCIA was a resident of

 M iam i-D ade County,Florida.

        8.     The defendant ANTO NIO L.HERNANDEZ was a resident of M iam i-Dade

 C ounty,Florida.
               The defendant LEM AY M OItA AROCHA was a resident of M iam i-Dade

 County,Florida.
        10.    ThedefendantJO SE ALONSO ACOSTA wasaresidentofM iam i-DadeCounty,

 Florida.
        11.    The defendant ANDRES GARCIA GARCIA was a resident of M iam i-Dade

 County,Florida.
               The defendantYO SBEL DOM INGUEZ FUNDOM       wasa residentofM iam i-

  DadeCounty,Florida.
               ThedefendantDAYCEL CABARROCA wasaresidentofM iami-DadeCounty,

  Florida.
                The defendantYAM ILE LEW IS M OLLINEDO wasa residentofM iam i-Dade

  County,Florida.
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                                           CO UN T 1
                              C onspiracy to Com m itB ank Fraud
                                       (18U.S.C.j1349)
               Paragraphs 1 through 14 ofthe GeneralAllegations section ofthis lndictm ent are

 re-alleged and incorporated fully herein by reference.
        2.      From on oraboutA ugust6,2019,and continuing through on oraboutFebnlary 19,

 2020,in M iam i-DadeandPalm Beach Counties,intheSouthernDistrictofFlorida,andelsewhere,

 the defendants,
                                  cA lttuo s RO LD A N LEIV A ,
                           YOANGEL M ARTINEZ QUEW D0.
                        DAIBY M ERCEDESM ARTINEZ IGLEVIAS,
                           Jo sE ItA M ON H ER NA N D EZ G AR C IA ,
                                AN TO N IO L .H ER NA N DEZ,
                                 LEM AY M O lzA A R O CH A ,
                                  Jo sE A luo x so Ac o s'
                                                         rA .
                                 ANDRESGARCIA GARCIX
                             YOSBEL DOM INGUEZ FIJNDURA,
                                 DA Y CEL C ABA R R O C A ,and
                               YAM ILE LEW ISM OLLIXEDO,
  did willftzlly,thatis,with intentto furthertheobjectoftheconspiracy,andknowingly combine,
  conspire,confederate,andagreewith othersknown andunknowntotheGrand Jury to knowingly,

  and with intent to defraud, execute a seheme and artifice to defraud one or more financial

  institutions,which schem eand artificewouldem ploy amaterialfalsehood,andtoknowingly,and

  with intentto defraud,executea schem eand artiticeto obtain m oneysand fundsowned by,and

  underthecustody and controlof,one ormore financialinstitutions,by meansofm aterially false

  and fraudulentpretenses,representations,and promisesrelating to am aterialfact,in violation of

  Title18,UnitedStatesCode,Section 1344(1)and(2).




                                                  3
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                             PU RPO SE O F TH E CO N SPIM C Y
               ltw asthe purpose ofthe conspiracy forthe defendantsand theirco.conspirators to

 unlawfully elzrich them selvesby depositing false and fraudulentchecksinto bank accountsthat

 the defendants and their co-conspirators controlled and using the illicitproceedsfortheir own

 personalgain.
                      M A NN ER AN D M EAN S O F TH E C O N SPIR A CY

        The m anner and m eans by which the defendants and their co-conspirators sought to

 accomplishthepurposeandobjectofthisconspiracyincluded,amongotherthings,thefollowing:
        4.       C AR LO S R O LDA N LEIVA and other know n and unknow n co-conspirators

 would steal checks from the U .S.m ail throughout the United States, including in Florida,

 Kentucky,South Carolina,N orth Carolina,Virginia,Delaware,lndiana,and lllinois.

                 YOANGEL M ARTINEZ QUEVEDO,DAIBY M ERCEDES M ARTINEZ
  IGLESIAS,JOSE RAM ON HERNANDEZ GARCIA,ANTONIO L.HEO ANDEZ,
  LEM A Y M O M      A R O CH A , AN D RE S G A R CIA G A R CIA , Y O SBEL D O M IN G UEZ

  FUN D O M ,DA Y C EL CA BAR R O CA ,and Y AM ILE LEW IS M O LLIN ED O and otherco-

  conspiratorswould open bank accountsatBank ofAmerica,W ellsFargo,BB&T,Regions,TD

  Bank,and SunTrust,among others,in the SouthernDistrictofFloridaand elsewhere.

                 Co-conspiratorswould falsely and fraudulently alterthe stolen checksto increase

  theamountspayableofthechecksandtomakeYOANGEL M ARTINEZ QUEVEDO,DAIBY
  M ERC ED ES M A RTIN EZ IG LESIA S, JO SE M M ON                 H ER NA N DE Z G A R CIA ,

  AN TO NIO L. H ER NA N DE Z, LEM A Y M O ItA A R O CH A , JO SE AL O N SO A C O STA ,

  A ND R ES G A RC IA      G AR C IA , Y O SBEL     D O M IN G UE Z   FU ND O R A, DA Y CE L



                                                4
Case 1:21-cr-20226-BB Document 1 Entered on FLSD Docket 04/14/2021 Page 5 of 25



 CABARRO CA,and YAM ILE LEW IS M OLLINEDO and otherco-conspiratorsthepayeesof

 the checks.
               CARLOS ROLDAN LEIVA,YOANGEL M ARTINEZ QUEVEDO,DAIBY

 M ER CE DES M AR TINE Z IG LESIA S, JO SE R AM O N                H E RN A ND EZ G A R CIA ,

 A N TO N IO L. H ER NA ND E Z, LEM A Y M O IkA A RO CH A , JO SE AL O N SO A C O STA ,

 AN D RES G A R CIA       G A R CIA , YO SBEL      D O M IN G U EZ    FU N DO R A, D AY C EL

 CABARRO CA,andYAM ILE LEW IS M OLLINEDO and otherco-conspiratorswould deposit

 the false and fraudulentchecksinto bank accountsthatthe defendants and their co-conspirators

 controlled.
        %'      CARLOS ROLDAN LEIVA,YOANGEL M ARTINEZ QUEVEDO,DAIBY

 M ERC EDE S M A RTIN EZ IG LESIA S, JO SE R AM O N                  H ERN A N DEZ G A R CIA ,

 AN TO N IO L. H ERN A N DEZ , LEM A Y M O R A A R O CH A ,JO SE A LO N SO A C O STA ,

 A ND R ES G AR C IA      G A R CIA , Y O SBEL      D O M IN G UEZ     FUN D O R A, DA Y CEL

  CABARROCA , and YAM ILE LEW IS M OLLINEDO and other co-conspirators would

  withdraw and transfer the proceeds ofthe false and fraudulentchecks out of the bank accounts,

  and otherw ise use the proceeds ofthe false and fraudulent checks,fortheir ow n benetit and the

  benefitofothers.
         Allin violation ofTitle 18,United States Code,Section 1349.
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                                           CO UN TS 2-16
                                            Bank Fraud
                                       (18U.S.C.j1344)
               Paragraphs 1through 14 ofthe GeneralAllegationssection ofthislndictm entare

 re-alleged and incorporated fully hereinby reference.
               On oraboutthe datesand for the defendants specified below ,in M iam i-D ade and

 Palm Beach Counties,in the Southern District of Florida,and elsewhere,the defendants did

 know ingly,and w ith intentto defraud,execute,and attem ptto execute,and cause the execution

 of,aschemeandartificetodefraud oneorm orefinancialinstitutions,including Bank ofAm erica,

 W ellsFargo,and SunTrust,which scheme and artifice employed a materialfalsehood,and did

 know ingly,and w ith intentto defraud,execute,and attem ptto execute,and cause the execution

 of,a schem e and artificeto obtain m oneys and fundsowned by,and underthe custody and control

 of one orm ore financialinstitutions by means of materially false and fraudulently pretenses,

 representations,and promises,relating to a m aterialfact,in violation ofTitle 18,United States

  Code,Section 1344(1)and(2).
                       PU RPO SE O F TH E SCH EM E A ND A RTIFIC E
                   was the purpose of the scheme and artifice for the defendants and their

  accom plicesto unlawfully enrich them selvesby depositing false and fraudulentchecksinto bank

  accotmts thatthe defendants and theiraccomplices controlled and using the illicitproceedsfor

  theirown personalgain.
                                   SCH EM E A N D AR TIFICE
                Paragraphs 4 through 8 of the M anner and M eans section from Count 1 of this

  lndictmentare re-alleged and incom orated by reference as though fully setforth herein as the

  description ofthe schem eand artifice.
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                       EX ECU TIO N O F TH E SC H EM E A N D A R TIFIC E
               On oraboutthe datesand forthedefendantsspecified below,the defendantsdid

 execute,and causetheexecution of,the abovedescribed scheme and artiticeto defraud,asm ore

 particularly described below:

  Count  Defendantts)            ApproximateDate               Execution
    2 JOSE R AM ON               October9,2019   Deposita $9,700 falseandfraudulent
          HERNANDEZ                                 check intoBank ofAm ericaaccount
          GARCIA                                    ending in 9673 in theSouthem Districtof
                                                    Florida.
    3     YOANGEL                Novem ber5,2019 Deposita$9,700 false and fraudulent
          M ARTINEZ                                  check into Bank ofAm ericaaccount
          QUEVEDO                                    endingin 1662intheSouthernDistrictof
                                                     Florida.
    4     ANTONIO L.              November6,2019 Deposita $9,700 falseand fraudulent
          HERNANDEZ                                  check into Bank ofAmerica account
                                                     ending in 9889 in theSouthern Districtof
                                                     Florida.
     5    ANTONIO L.              Novem ber11,       Deposita$9,500 falseand fraudulent
          H E RN AN D EZ          2019               check into B ank ofA m erica account
                                                     ending in 2579 in theSouthern Districtof
                                                     Florida.
     6    DAYCEL                  Novem ber14,       Deposita$6,000 false and fraudulent
          CABARRO CA              2019               check into W ellsFargo accountending in
                                                     6742 in the Southern DistrictofFlorida.
     7    DAYCEL                  Novem ber 19,      Deposita$7,500falseand fraudulent
           CABARROCA              20.
                                    19           check into W ellsFargo accountending in
                                                 1400 in the Southem D istrictofFlorida.
     8     YOSBEL                 December4,2019 Depositan $8,700 false and fraudulent
           DOM INGUEZ                            check into Barlk ofAm ericaaccount
           FUNDORA                               ending in 1017 in the Southern Districtof
                                                 Florida.
     9     ANDRES GARCIA Decem ber5,2019 Deposita$6,712 falseand fraudulent
           G A R CIA                                 check into Bank ofA m erica account
                                                     ending in 1841 in the Southern D istrictof
                                                     Florida.
     10    YOANGEL                Decem ber17,       Deposita $9,700 falseand fraudulent
           M A RTIN EZ            2019               check into SunTrustaccountending in
           QUEVEDO                                   5939 inthe Southern DistrictofFlorida.
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    11    JOSE ALONSO         January 18,2020   Deposita$7,500 false and fraudulent
          AC O STA                              check into Bartk ofA m erica account
                                                ending in 8596 in the SouthenzDistrictof
                                                Florida.
   12     CARLOS              January 27,2020   Deposita$9,700 false and fraudulent
          RO LDA N LEIV A                       check into Bank ofAm erica account
                                                ending in 1163 in the Southelm Districtof
                                                Florida.
   13     CARLOS              January 27,2020   Deposita$9,400 false and fraudulent
          RO LDAN LEIVA                         check into Bank ofAm ericaaccount
                                                ending in 7078 in the SouthenzDistrictof
                                                Florida.
    14    CARLOS              January29,2020    Deposita$9,900 falseand fraudulent
          R O LDA N LEIV A                      check into Bank ofA m erica account
          and Y O A N G EL                      ending in 1845 in the SouthenzDistrictof
          M A RTIN EZ                           Florida.
          QUEVEDO
    15    CARLOS              February 6,2020   Deposita$6,008 false and fraudulent
          R O LDA N LEIV A                      check into Bank ofA m erica account
                                                ending in 7078 in the Southern Districtof
                                                Florida.
    16    CARLO S             February6,2020    Deposita$9,800 false and fraudulent
          R O LDA N LEIV A                      check into Bank ofA m erica account
                                                ending in 3028 in the Southern Districtof
                                                Florida.

         lnviolationofTitle l8,UnitedStatesCode,Sections1344(1)and(2),and2.




                                           8
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                                          C O U NT 17
                          C onspiracy to Com m itM oney Laundering
                                      (18U.S.C.j1956(h))
               Paragraphs 1 through 14 ofthe GeneralAllegationssection ofthislndictmentare

 re-alleged and incorporated fully herein by reference.

               From on oraboutA ugust6,2019,and continuing through on oraboutFebruary 19,

 2020,in M iam i-DadeandPalm BeachCounties,in theSouthern DistrictofFlorida,andelsewhere,

 the defendants,

                                  CAR LO S R O LD AN LEIV A ,
                           YOANGEL M ARTINEZ QUEVED0 ,
                        DAIBY M ERCEDES M ARTINEZ IGLEMIAS,
                           JO SE R AM O N H ERN AN D EZ G A R CIA ,
                                 AN TO NIO L .H ER NA N DE Z,
                                  LEM AY M O R A AR O CH A ,
                                Jo sE A LO N SO AC O ST A ,and
                               YAM ILE LEW IS M OLLIXEDO ,
 didknowingly and willfully combine,conspire,confederate,and agree with otherpersonskrlown

 and unknown to the Grand Jury,to commitcertain offensesagainstthe United States,thatis,to

 knowingly conduct a financial transacticm affecting interstate and foreign cornmezce,which

 transaction involved the proceeds of specified unlawful activity, knowing that the property

 involved in the transaction represented the proceeds of som e fol'
                                                                  m of unlawfulactivity,and

 knowingthatthetransaction wasdesigned in wholeandinpartto concealand disguisethenature,

 the location,the source, the ow nership, and the control of the proceeds of specified unlaw ful

 activity,inviolationofTitle18,United StatesCode,Section 1956(a)(1)(B)(i).
        ltis further alleged thatthe specified unlawfulactivity is Conspiracy to Comm itBank

 Fzaud and Balak Fraud,inviolation ofTitle18,UnitedStatesCode,Sections 1349,1344(1)and


        AllinviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                                 9
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                                           C O UN TS 18-29
                                          M oney Laundering
                                  (18U.S.C.j1956(a)(1)(B)(i))
                Paragraphs 1through 14 ofthe GeneralAllegationssection ofthisIndictm entare

 re-alleged and incorporated fully herein by reference.

                On or about the dates and for the defendants specified below , in M iam i-D ade

 County,in the Southern D istrictofFlorida,and elsew here,the defendants did know ingly conduct

 and attem pt to conduct a financial transaction affecting interstate com m erce, w hich financial

 transaction involved the proceeds of specified unlawf'ul activity, knowing that the property

 involved in the tinancialtransaction represented theproceedsofsom e form ofunlawfulactivity,

  and ltnowing thatthe transaction wasdesigned,in whole and in part,to concealand disguise the

  nature, the location, the source, the ownership, and the control of the proceeds of specitied

  unlaw fulactivity,as setforth below :

   Count        Defendantts)        A roximateDate                      Execution
     18    DAIBY M ERCEDES October16,2019                 Purchaseof$3,000 worth ofcasino
           M A R TIN EZ                                   chips atM iccosukee Resort& G am ing
           IG LE SIAS                                     casino located at500 SW 177thAvenue
                                                          in M iam i,Florida.
     19    JOSE R AM ON             October19,2019        Purchase$4,500 worth ofcasino chips
           HERNANDEZ                                      atM iccoslzkeeResort& Gam ing
           GARCIA                                         casino located at500 SW 177thAvenue
                                                          in M iami,Florida.
     20    YAM ILE LEW IS           November5,2019 Ptlrchase $4,600worth ofcasino chips
           M O LLIN EDO                                   atM iccosukee Resort& Gam ing
                                                          casino located at500 SW 177thAvenue
                                                          in M iam i,Florida.
     21    YOANGEL                  November13,           Purchaseof$4,300 worth ofcasino
           M AR TINE Z              2019                  chipsatM iccosukee Resort& G am ing
           QUEVEDO                                        casinolocatedat500SW 177thAvenue
                                                          in M iam i,Florida.




                                                  10
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    22    JOSE ALONSO            December25,         Purchaseof$3,500 worth ofcasino
          A C O STA              2019                chipsatM iccosukee Resol't& G am ing
                                                     casino located at500 SW 177thA venue
                                                     in M iam i,Florida.
    23    CARLOS ROLDAN          January 16,2020     Purchase offour$500m oney ordersat
          LEIVA                                      Publix located at155 East2ndAvenue
                                                     in Hialeah,Florida.
    24    CARLO S ROLDAN         January23,2020       Purchase of$4,800worth ofcasino
          LEIVA and JOSE                              chipsatM iccosukeeResort& Gaming
          ALONSO ACO STA                              casino located at500 SW 177thAvenue
                                                      in M iam i,Florida.
    25    ANTONIO L.              January 28,2020     Purchaseof$4,500 worth ofcasino
          H ERNANDEZ                                  chipsatM iccosukee Resol't& Gam ing
                                                      casino located at500 SW 177thA venue
                                                      in M iam i,Florida.
    26    DAIBY M ERCEDES February 5,2020             Purchase offour$500m oney ordersat
          M ARTINEZ                                   Publix located at155 East2ndAvenue
          IGLESIAS                                    in Hialeah,Florida.
    27    CARLO S ROLDAN          February 6,2020     Purchase ofthree $500 money orders
          LEIVA                                       and one$200 m oney orderatPublix
                                                      lOCated at 155 East2ndAvenue in
                                                      Hialeah,Florida.
    28    YO ANGEL                February 7,2020     Purchaseof$4,800 worth ofcasino
          M ARTINEZ                                   chipsatM iccosukeeResort& Gam ing
          QUEVEDO                                     casinoat500SW 177thAvenuein
                                                      M iam i,Florida.
    29    CARLOS ROLDAN           February 15,2020 Purchaseof$4,800 worth ofcasino
          LEIV A and LEM AY                           chipsatM iccosukee Resort& G am ing
          M O R A A R O CH A                          casino at500 SW 177thA venue in
                                                      M iam i,Florida.

         ltis further alleged thatthe specitied unlawfulactivity is Conspiracy to Comm itBank

  Fraud andBank Fraud,in violationofTitle 18,United StatesCode,Sections1349,1344(1)and

  (2).
         ln violationofTitle18,United StatesCode,Sections1956(a)(1)(B)(i)and2.
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                               FO R FEIT UR E ALLE G ATIO N S

               The allegations ofthisIndictm entare hereby re-alleged and by thisreference fully

 incorporated herein forthepurpose ofalleging forfeiture to the U nited StatesofAm ericaofcertain

 property in which any of the defendants, CA R LO S R O LD AN LEIVA , Y O AN G E L

 M ARTINEZ QUEVEDO,DAIBY M ERCEDES M ARTINEZ IGLESIAS,JOSE RAM ON
 H ERN AN D EZ G A RC IA ,A NT O NIO L.H ER NA N DEZ,LEM A Y M O ItA A R O C H A ,JO SE

 A LO N SO A C O STA ,A N DR ES G A R CIA G A RC IA ,Y O SBE L D O M IN G U EZ FUN D O R A,

 D AY C EL CA BA RR O CA ,and YA M ILE LEW IS M O LLINED O ,hasan interest.

               Upon conviction ofbank fraud in violation ofTitle 18,United States Code,Section

 1344,oraconspiracy to com m itbank fraud,pursuantto Title 18,United SatesCode,Section 1349,

 as alleged in this lndictm ent,each defendantso convicted shallforfeit to the United States any

 property constituting,or derived from ,proceeds the person obtained directly or indirectly as a

 result of the com m ission of the offense, pursuant to Title 18, U nited States Code, Section

 982(a)(2).
               Upon conviction ofm oney laundering,in violation ofTitle 18,United States Code,

 Section 1956,as alleged in thislndictm ent,each defendantso convicted shallforfeitto the United




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   Statesany property,realorpersonal,involved in such offense,and any property traceable to such

  property,pursuanttoTitle18,UnitedStatesCode,Section982(a)(1).
             A1lpursuantto Title 18,United States Code,Section 982(a)(1) and (a)(2),and the
  procedures set forth in Title 21,U nited States Code,Section 853,as incom orated by Title l8,

  UnitedStatesCode,Section982(b)(l).
                                                    A TRUE BILL



                                                    F RE ER SON




               .   v
                                         X.
                                        e'
                                          *
  A7AN N TON IO GON Z LEZ
  A CTW G U N ITED STATES ATTORN EY
         *

              U           <
  EL1S.RUBIN
  A SSISTAN T UN ITED STATES ATTORN EY
                               UNITED
     Case 1:21-cr-20226-BB Document 1 STATES DIon
                                       Entered STRICT COURT
                                                  FLSD  Docket 04/14/2021 Page 14 of 25
                              SOUTHERN DISTRICT OF FLORIDA

UNITED STATESO F AM ER ICA                               C ASE NO .


CARLO S RO LDAN LEW A,etaI.,
                                                         C ERTIFICATE O F TRIAL ATTO R NEY.
                                                         Superseding Case lnform ation:
          Defendant                           l

CourtDivision:(selectOne)                                New defendantts)              Yes       No
 7      M iami              Key svest                    Numberofnew defendants
        FTL                 V/PB        FTP              Totalnum berofcounts

                 Ihave carefully considered the allegationsofthe indictment,the numberofdefendants, the numberof
                 probable witnessesand the legalcom plexitiesofthe Indictment/lnformation attached hereto.
                 Iam aware thatthe information supplied on this sotementwillbe relied upon by the Judges ofthis
                 Courtin setting theircalendars and scheduling crim inaltrials under the mandate ofthe Speedy Trial
                 Act,Title28 U .S.C.Section 3161.
                 lnterpreter:      (YesorNo)      Yes
                 Listlanguage and/ordialect SPANISH
       4.        Thiscasew illtake 8 daysforthe partiesto try.
                 Please check appropriate category and type ofoffense listed below :
                 (Checkordyo11t)                                (Checkoltlyone)

       I         0to 5days                                      Petty
       11        6to 10days                   @                 M inor
       IIl       11to20 days                                    M isdem.
       IV        2lto60 days                                    Felony                 ?'
       V         6ldaysand over
       6.     Hasthiscasepreviously been filed in thisDistrictCourt?              (YesorNo)      No
        Ifyes:Judge                                  CaseN o.
        (Attachcopyofdispositiveorder)
        Hasacomplaintbeen filed inthismatter?            (YesorNo)         NO
        Ifyes:MajistrateCaseNo.
        Related m lscellaneousnum bers:
        Defendantts)infederalcustodyasof
        Defendantts)insutecustody asof
        Rule20 from the Districtof
        lsthisapotentialdeathpenaltycase?(YesorNo)                 No
                 Doesthiscase originate from a m atterpending in the CentralRegion oftheU .S.Attorney'sOftice
                 priorto August9,20l3(M ag.JudgeAlicia0.Valle)?                   Yes            No ?'
                 Doesthiscase originate from a m atterpending in the Northern Region U .S.Attorney'sOffice
                 priortoAugust8,2014(M ag.JudgeShaniek Maynard)?                  Yes            No g
                                                                                             e



                                                                 EL1S.RUBIN
                                                                 AssistantUnited StatesAttorney
                                                                 CourtID A5502535
 *penalty Sheetts)attached                                                                               REV8/13/2018
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                           UNITED STATES D ISTR ICT CO UR T
                           SOU TH ERN D ISTR ICT O F FLOR IDA

                                      PEN ALTY SH EET

   Defendant'sN am e:     CA RLOS ROLDAN LEIVA

   Case No:                                                                           .




   Count#:1

   Conspiracy to Com m itBank Fraud

   18U.S.C.j1349
   *M ax.Penalty:30 Years'lm prisonm ent

   Counts#:12-16

   Bank Fraud

   18U.S.C.j 1344
   *M ax.Penalty:30 Years'lm prisonm ent

   Count#:l7

   Conspiracy to Com m itM oney Laundering

   l8U.S.C.jl956(h)
   *M ax.Penalty:20 Years'lm prisonm ent

   Counts#:23,24,27,29

   M oney Laundering

   l8U.S.C.j1956(a)(1)(B)(i)
   *M ax.Penalty:20 Years'Im prisonm ent
    *Refers only to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                            U NITED STATES DISTRICT CO UR T
                            SO UTH ER N DISTRICT O F FLO RIDA

                                      PEN ALTY SH EET

   Defendant'sName:        YOANGEL M ARTINEZ QUEVEDO
   CaseN o:

   Count#:l

   Conspiracy to Comm itBank Fraud

   l8U.S.C.j l349
   *M ax.Penalty:30 Y ears'lm prisonm ent

   Counts#:3,10,14

   Bank Fraud

   l8U.S.C.j 1344
   *M ax.Penalty:30 Years'lm prisonm ent

   Count#:17

   Conspiracy to Com m itM oney Laundering

   18U.S.C.jl956(h)
   *M ax.Penalty:20 Years'Im prisonm ent

   Counts#:21,28

   M oney Laundering

   18U.S.C.j 1956(a)(1)(B)(i)
   *M ax.Penalty:20 Years'lmprisonm ent
    frR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20226-BB Document 1 Entered on FLSD Docket 04/14/2021 Page 17 of 25




                            UNITED STATES DISTRICT C O URT
                            SO UTH ERN D ISTRICT O F FL OR IDA

                                      PENA LTY SH EET

   D efendant's Nam e:     D AIBY M ERCEDES M A RTINEZ IG LESIA S

   Case No:

   Count#:l

   Conspiracy to Com m itBank Fraud

   18U.S.C.j l349
   *M ax.Penalty:30 Y ears'lm prisonm ent

   Count#:l7

   Conspiracy to Comm itM oney Laundering

   18U.S.C.jl956(h)
   *M ax.Penalyy:20 Years'lmprisonment
  Counts#:18,26

  M oney Laundering

   18U.S.C.j 1956(a)(1)(B)(i)
   *M ax.Penalty:20 Years'lmprisonm ent
    *Refers only to possibleterm ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                           U NITED STATES D ISTR ICT CO URT
                           SO UTH ER N DISTRICT O F FLO RIDA

                                     PEN ALTY SH EET

   Defendant's Nam e:     JO SE R AM ON H ERNAN DEZ G ARCIA

   Case No:

   Count#:1

   Conspiracy to Comm itBank Fraud

   l8U.S.C.j1349
   *M ax.Penalty:30 Y ears'lm prisonm ent

   Count#:2

  Bank Fraud

   l8U.S.C.j l344
   *M ax.Penalty:30 Years'Im prisonm ent

   Count#:17

   Conspiracy to Com m itM oney Laundering

   18U.S.C.j 1956(h)
   *M ax.Penalty:20 Years'lm prisonm ent

  Count#:19

  M oney Laundering

   18U.S.C.j 1956(a)(1)(B)(i)
  *M ax.Penalty:20 Y ears'lmprisonm ent
   *Refersonly to possibleterm ofincarceration,doesnotinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20226-BB Document 1 Entered on FLSD Docket 04/14/2021 Page 19 of 25




                           U NITED STATES D ISTRICT CO URT
                           SO UTH ERN D ISTR ICT O F FLOR IDA

                                      PENA LTY SH EET

   Defendant'sN am e:     AN TONIO L.HERNAN D EZ

   Case No:

   Count#:1

   Conspiracy to Com m itBank Fraud

   l8U.S.C.j1349
   *M ax.Penalty:30 Y ears'lm prisonm ent

   Counts#:4,5

   Bank Fraud

   18 U.S.C.j l344
   *M ax.Penalty:30 Years'lm prisonm ent

   Count#:17

   Conspiracy to Com m itM oney Laundering

   18U.S.C.j l956(h)
   *M ax.Penalty:20 Years'Im prisonm ent

   Count#:25

   M oney Laundering

   18U.S.C.j l956(a)(l)(B)(i)
   *M ax.Penalty:20 Years'lm prisonm ent
    *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures that m ay beapplicable.
Case 1:21-cr-20226-BB Document 1 Entered on FLSD Docket 04/14/2021 Page 20 of 25




                           UN ITED STATES DISTRICT CO URT
                           SO UTH ERN DISTRICT O F FLO R IDA

                                     PENA LTY SH EET

   Defendant'sN am e:     LEM A Y M ORA ARO CHA

   C ase No:

   Count#:1

   Conspiracy to Comm itBank Fraud

   l8 U.S.C.j 1349
   *M ax.Penalty:30 Years'lm prisonm ent

   Count#:17

   Conspiracy to Com m itM oney Laundering

   18U.S.C.j 1956(h)
   *M ax.Penalty:20 Years'lm prisonm ent

   Count#:29

   M oney Laundering

   18U.S.C.j1956(a)(1)(B)(i)
   *M ax.Penalty:20 Years'lmprisonm ent
    *R efersonly to possibleterm ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20226-BB Document 1 Entered on FLSD Docket 04/14/2021 Page 21 of 25




                           UNITED STA TES DISTRICT CO UR T
                           SO UTH ERN DISTR ICT O F FL OR IDA

                                      PEN ALTY SH EET

   Defendant'sN am e:     JO SE ALON SO A COSTA

   Case N o:

   Count#:l

   Conspiracy to Com m itBank Fraud

   18U.S.C.j 1349
   *M ax.Penalty:30 Years'lm prisonm ent

   Counts#:4,5

   Bank Fraud

   18U.S.C.j1344
   *M ax.Penalty:30 Years'lm prisonm ent

   Count#:17

   Conspiracy to Comm itM oney Laundering

   18U.S.C.jl9561)
   *M ax.Penalty:20 Years'Im prisonm ent

  Counts#:22,25

  M oney Laundering

   l8U.S.C.j l956(a)(1)(B)(i)
   *M ax.Penalty:20 Y ears'lmprisonm ent
    WR efersonly to possibleterm ofincarceration,doesnotinclude possiblefines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                           UNITED STA TES D ISTR ICT CO UR T
                           SO UTH ER N DISTRICT OF FLO RIDA

                                      PEN ALTY SH EET

   D efendant's Nam e:    AN D RES G ARCIA G ARCIA

   Case No:

   Count#:1

   Conspiracy to Com m itBank Fraud

   l8U.S.C.j 1349
   *M ax.Penalty:30 Y ears'Im prisonm ent

   Count#:9

   Bank Fraud

   l8U.S.C.j 1344
   *M ax.Penalty:30 Years'lm prisonm ent
    *ltefersonly to possible term ofincarceration,doesnotinclude possiblefines,restitution,
            specialassessm ents,parolc term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20226-BB Document 1 Entered on FLSD Docket 04/14/2021 Page 23 of 25




                           UNITED STATES D ISTR ICT CO UR T
                           SO UTH ER N DISTR ICT O F FLO RID A

                                      PENA LTY SH EET

   D efendant's Nam e:     YOSBEL DOM IN GU EZ FUN DORA

   C ase No:

   Count#:1

   Conspiracy to Com m itBank Fraud

   18U.S.C.j1349
   *M ax.Penalty:30 Y ears'lm prisonm ent

   Count#:8

   Bank Fraud

   l8U.S.C.j1344
   *M ax.Penalty:30 Y ears'lmprisonm ent
    WRefers only to possibleterm ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                             UNITED STA TE S D ISTRICT CO UR T
                             SO UTH ER N DISTRICT O F FLO RIDA

                                      PENALTY SH EET

   D efendant's Nam e:       D AY CEL CABARROCA

   Case No:

   Count#:1

   Conspiracy to Cpm m itBank Fraud
                         -




   18U.S.C.j1349
   *M ax.Penalty:30 Years'lm prisonm ent

   Counts#:6,7

   Bank Fraud

   18U.S.C.jl344
   *M ax.Penalty:30 Years'lm prisonm ent
    *Refersonly to possibleterm ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                            U NITED STATES D ISTRICT CO URT
                            SO UTH ER N D ISTRICT OF FLO RIDA

                                      PENA LTY SH EET

   D efendant's Nam e:     YAM ILE LEW IS M OLLIN EDO

   Case No:

   Count#:l

   Conspiracy to Com m itBank Fraud

   18U.S.C.j1349
   *M ax.Penalty:30 Y ears'lm prisonm ent

   Count#:17

   Conspiracy to Com m itM oney Laundering

   18U.S.C.j1956(h)
   *M ax.Penalty:20 Years'lm prisonm ent

  Count#:20

  M oney Laundering

   18U.S.C.j1956(a)(l)(B)(i)
   *M ax.Penalty:20 Years'lm prisonm ent
    WRefers only to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
